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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

 JOHNNY L. PARTIDAS OLMEDO,                                 Case No.:      1:23-cv-22798-BB

        Plaintiff,
 v.

 CLEANER’S GURU LLC, a Florida Limited
 Liability Company d/b/a TOTAL G TELECOM,
 and RAFAEL E. HERNANDEZ, Individually,

        Defendants.
                                                     /

                        DEFENDANTS’ NOTICE OF APPEARANCE

        PLEASE TAKE NOTICE of the appearance of attorneys Alyssa Castelli and Jamie L.

  White of Spire Law, PLLC, as counsel of record for Defendants Cleaner’s Guru LLC d/b/a Total

  G Telecom and Rafael E. Hernandez in the above-styled cause, and request that copies of all

  pleadings, notices, and correspondence be directed to the attention of Spire Law, PLLC.

        Dated this 6th day of September, 2023.

                                             Respectfully submitted,
                                             SPIRE LAW, PLLC
                                             2572 W. State Road 426, Suite 2088
                                             Oviedo, Florida 32765


                                             By: /s/Jamie L. White
                                             Jamie L. White, Esq. (Fl. Bar No. 100018)
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 6th day of September 2023, the foregoing was electronically

 filed through the CM/ECF system, which will send a notice of electronic filing to Plaintiff’s

 counsel, Nathaly Saavedra, Esq., Juan J. Perez, Esq. and P. Brooks LaRou, Esq., Peregonza The

 Attorneys, PLLC, 5201 Blue Lagoon Drive, Suite 290, Miami, Florida 33126, via email at

 nathaly@peregonza.com; juan@peregonza.com; brooks@peregonza.com.

                                                    /s/ Alyssa Castelli
                                                    Attorney




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